                 Case 20-10553-CTG          Doc 1635       Filed 01/17/24       Page 1 of 2




                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

                                           )
    In re                                  )                  Chapter 7
                                           )
    START MAN FURNITURE, LLC, et al.1,     )                  Case No. 20-10553-CTG
                                           )
                  Debtor.                  )                  Re: Docket Nos. 1189, 1521, 1526, 1531,
    ______________________________________ )                  1545, 1566, 1582, 1609, 1621
                                           )
    PNC Bank, National Association and PNC )
    Merchant Services Company              )
                                           )
                  Plaintiffs,              )
    v.                                     )                  Adv. Pro. No. 21-50241-CTG
                                           )
    Start Man Furniture, LLC, et al.,      )                  Re: Docket Nos. 28, 31, 34, 38, 41, 47,
                                           )                  48, 49, 50
                  Defendants.              )
                                           )




                                           STATUS REPORT


            The above-captioned plaintiffs, PNC Bank, National Association and PNC Merchant

Services Company (“Plaintiffs” or “PNC”) respectfully file this Status Report as required by the

Court’s Order dated September 26, 2022 [ECF #31] (the “Scheduling Order”) to inform the Court

that:

            1.    Since Plaintiffs’ last status report filing on November 21, 2023 [ECF #50], PNC,

Alfred T. Giuliano, chapter 7 trustee the (“Trustee”) for the estates of the above-captioned debtors


1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Start Man Furniture, LLC (9205); SVF Holding Company, Inc. (0291); SVCE, LLC
(2509); StartVF Holdings I, LLC (2537); StartVF Holdings II, LLC (7472); SVF Parent, LLC (3451); Levin Parent,
LLC (8052); Start Man Furniture of Canada, LLC (9491); SV Sleep Franchising, LLC (8968); SVF Franchising, LLC
(6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the
Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.
             Case 20-10553-CTG         Doc 1635      Filed 01/17/24    Page 2 of 2




(the “Debtors”) and the other parties named or potentially interested in above-captioned adversary

proceeding are awaiting contact from Judge Horan’s chambers regarding next steps in continuing

the mediation that was held in Wilmington, Delaware on November 20, 2023 (the “Mediation”).


Dated: January 17, 2024                      Respectfully submitted,

                                             BUCHANAN INGERSOLL & ROONEY PC

                                             /s/ Geoffrey G. Grivner
                                             Geoffrey G. Grivner (#4711)
                                             500 Delaware Avenue, Suite 720
                                             Wilmington, DE 19801
                                             Tel: (302) 552-4200
                                             Fax: (302) 552-4295
                                             geoffrey.grivner@bipc.com

                                             -and-

                                             BUCHANAN INGERSOLL & ROONEY PC
                                             Tyler S. Dischinger (pro hac vice)
                                             Union Trust Building
                                             501 Grant Street, Suite 200
                                             Pittsburgh, PA 15219
                                             Tel: (412) 562-8800
                                             Fax: (412) 562-1041
                                             tyler.dischinger@bipc.com
                                             Attorneys for Plaintiffs / PNC




                                                2
